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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                  PENDLETON DIVISION

OREGON FIREARMS FEDERATION, INC.,             Case No. 2:22-cv-01815-IM (Lead Case)
et al.,                                       Case No. 3:22-cv-01859-IM (Trailing Case)
                    Plaintiffs,               Case No. 3:22-cv-01862-IM (Trailing Case)
        v.                                    Case No. 3:22-cv-01869-IM (Trailing Case)
KATE BROWN, et al.,
                                              CONSOLIDATED CASES
                            Defendants.
                                              SECOND DECLARATION OF KEVIN
MARK FITZ, et al.,                            CAMPBELL
                            Plaintiffs,
       v.
ELLEN F. ROSENBLUM, et al.,
                            Defendants.

KATERINA B. EYRE, et al.,
                            Plaintiffs,
       v.
ELLEN F. ROSENBLUM, et al.,
                            Defendants.

DANIEL AZZOPARDI, et al.,
                            Plaintiffs,
       v.
ELLEN F. ROSENBLUM, et al.,
                            Defendants.
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I, Kevin Campbell, declare and state the following.

       1.     I am a resident of Keizer, Oregon, am over 18 years of age, and have personal
              knowledge of the matters stated herein.

       2.     I am the Executive Director of the Oregon Association of Chiefs of Police
              (“OACP”) and I am authorized to speak and testify on its behalf.

       3.     OACP is a 501(c)(3) nonprofit corporation, dedicated to supporting Oregon police
              chiefs. There are 125 municipal police agencies that are members of OACP.

       4.     Ballot Measure 114 makes each county sheriff and police chief a “permit agent” for
              its jurisdiction. Whether a Chief of Police can defer their obligations under Ballot
              Measure 114 to the county sheriff is unclear, thus OACP assumes the police chief
              will remain responsible within their jurisdiction.

       5.     Within days following the passage of Ballot Measure 114, and in partnership with
              the Oregon State Police (“OSP”) and the Oregon State Sheriffs’ Association
              (“OSSA”), OACP embarked on an effort to create a permit-to-purchase process that
              meets Ballot Measure 114’s requirements. Creating the detailed permit-to-purchase
              process is the first step in a series of steps necessary to ensure that a permit system
              is in place and that police agencies are trained, equipped, and staffed to receive and
              process applications. OACP, in partnership with OSSA, will endeavor to create
              additional resources and technical assistance to aid local police agencies as they
              work to implement the process and requirements of Ballot Measure 114.

       6.     A steering committee comprised of leaders from each of the three groups was
              formed to guide an implementation process, and two workgroups that include
              subject matter experts from local police agencies and sheriff’s offices were tasked
              with developing a statewide, legally sound, step-by-step permit-to-purchase process
              that all Oregon police chiefs and sheriffs can utilize. Both workgroups have met
              numerous times and are making progress, but clarifications from state and federal
              agencies are necessary before the workgroups can complete their work and finalize
              the application process.

       7.     A workgroup of subject matter experts tasked with creating a process for the in-
              person demonstration of an applicant’s ability to lock, load, unload, fire and store a
              firearm has completed their work. Their recommended process will be considered
              by OACP and OSSA leadership the first week of January. The process attempts to
              address accommodations for persons with disabilities who wish to purchase a
              firearm but can’t perform aspects of the demonstration required by the measure.
              Every effort was made to ensure compliance with the Americans with Disabilities
              Act. Ballot Measure 114 is silent regarding this issue.

       8.     Before the Ballot Measure 114 permit-to-purchase process can be operational, the
              Federal Bureau of Investigation (“FBI”) must authorize OSP to submit fingerprints



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            to run the federal fingerprint background checks through the National Instant
            Background System (NICS) that are required by Ballot Measure 114. According to
            OSP leadership, during a meeting on December 21, 2022, the FBI has not authorized
            submission of fingerprints for this purpose. Until that issue is resolved, no permit-
            to-purchase applications in Oregon can be processed.

     9.     OSP estimates there will be approximately 300,000 new permits issued in the first
            year after Ballot Measure 114 takes effect. OACP believes that few if any of
            OACP’s 125 member agencies have sufficient staffing or resources to process and
            issue the applications and permits. The permit-to-purchase process in Ballot
            Measure 114 is modeled after Oregon’s existing concealed handgun licensing
            program. Municipal, Port, University and Tribal police chiefs in Oregon have never
            been responsible for issuing concealed handgun licenses, and do not have the
            infrastructure, personnel, or processes in place to accommodate the permit-to-
            purchase process required by Ballot Measure 114. Furthermore, OACP believes that
            the $65 per permit fee authorized by Ballot Measure 114 is inadequate to cover the
            costs that will be incurred by police agencies to implement the permit process.
            According to OSP Firearm Instant Check System (“FICS”) Unit, OSP’s cost to
            process fingerprints and background checks for each application is $45, a cost OSP
            indicates they plan to pass on to local permit agents. The remaining $20 from each
            application will not come close to covering the cost to local police agencies for
            hiring dedicated personnel and other costs associated with the permitting process.

     10. OACP believes it is important to note that the cost to properly staff and support a
         permit-to-purchase process is most problematic for the more than sixty municipal
         police agencies in Oregon that have ten or fewer sworn officers. In many of these
         agencies, the Chief of Police handles patrol shifts and provides backup to his or her
         police officers. Many of these small agencies (and their larger counterparts) are
         facing workforce shortages that strain their ability to fulfill their basic public safety
         mission, responding to and preventing crime. Even before the current hiring crises,
         Oregon had one of the lowest number of police officers per thousand population in
         the nation. These workforce realities make fulfilling the requirements of Ballot
         Measure 114 and thus issuing permits to qualifying Oregonians very challenging if
         not impossible.

     11. OSP has notified OACP and OSSA that a system for electronic transfer of permit
         applications and the submission of fingerprints to and from OSP does not currently
         exist. As a result, all transfers of a permit application from a police agency to OSP
         must be on paper via courier or mail delivery. This will increase the cost of the
         process and further slow the permit process.

     12. Ballot Measure 114 requires permit-to-purchase applicants to provide proof of very
         specific training requirements that can be done online and through a live
         demonstration. OSSA has developed an online course which covers the subject areas
         required by Ballot Measure 114 that is available through their website. As




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            mentioned previously, the process for the live demonstration portion of the
            requirement is in draft form and is pending review by OACP and OSSA leadership.

       13. Many smaller agencies do not issue firearms but require their officers to purchase
           their own firearms for use as duty weapons. OACP is concerned that it will cause
           serious disruptions to some of our member agencies if their newly hired officers
           suffer long delays in purchasing a firearm.

       14. OACP does not believe a statewide permit-to-purchase system as directed by Ballot
           Measure 114 can be operational in the near future.

       15. I make these statements in support of the Plaintiffs’ motion to preliminary enjoin
           Ballot Measure 114.

In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct to the best of my knowledge.

Dated this 4th day of January, 2023.
                                                     _____________________________
       Kevin L. Campbell




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